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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA            *

     v.                             *     CRIMINAL NO: SAG-23-0123

CHARLES A. JENKINS,                 *

           Defendant             *
                             …ooo0ooo…

                          PROPOSED ORDER


     The Court having reviewed Defendant Jenkins’ four Motions in Limine, it is

this ________ day of ____________________, 2024

     ORDERED

     1. Motion I (firearms/photographs): ___________________________.

     2. Motion II (letter of March 29, 2022): _________________________.

     3. Motion III (Indictment paragraph 14): ________________________.

     4. Motion IV (FFL records 1980s-90s): _________________________.




                                    _________________________________
                                    The Honorable Stephanie A. Gallagher
                                    United States District Court
                                    For the District of Maryland
